[Cite as State v. Snowden, 2024-Ohio-3255.]

                             IN THE COURT OF APPEALS OF OHIO

                                  TENTH APPELLATE DISTRICT


State of Ohio,                                       :

                 Plaintiff-Appellant,                :              No. 23AP-699
                                                                 (C.P.C. No. 20CR-3640)
v.                                                   :
                                                                (REGULAR CALENDAR)
Louis T. Snowden,                                    :

                 Defendant-Appellee.                 :



                                              D E C I S I O N

                                    Rendered on August 27, 2024


                 On brief: G. Gary Tyack, Prosecuting Attorney, and
                 Mark R. Wilson, for appellant. Argued: Mark R. Wilson.

                 On brief: Adam G. Burke and Mellissia Fuhrmann, for
                 appellee. Argued: Adam G. Burke.

                  APPEAL from the Franklin County Court of Common Pleas

LUPER SCHUSTER, J.
        {¶ 1} Plaintiff-appellant, State of Ohio, appeals from a judgment of the Franklin
County Court of Common Pleas granting the motion of defendant-appellee, Louis T.
Snowden, for judicial release. For the following reasons, we reverse and remand.

I. Facts and Procedural History
        {¶ 2} In August 2020, Snowden was indicted on multiple drug offenses, including
aggravated tracking in drugs in violation of R.C. 2925.03, a first-degree felony, with a one-
year firearm specification. In January 2021, Snowden pleaded guilty to the stipulated lesser
included offense of aggravated trafficking in drugs in violation of R.C.2925.03, a second-
degree felony, with a one-year firearm specification. The trial court accepted Snowden’s
plea, a nolle prosequi was entered as to the other counts, and Snowden was sentenced to an
No. 23AP-699                                                                                 2


indeterminate prison term of 2 to 3 years, with a “mandatory consecutive” 12 months in
prison as to the firearm specification. The judgment entry does not state whether the prison
term for the drug offense was mandatory.
       {¶ 3} In August 2023, Snowden filed a request for judicial release, pursuant to R.C.
2929.20, asserting he was eligible for that release 180 days after the expiration of his
mandatory 12-month prison term for the firearm specification. On October 19, 2023, the
trial court granted Snowden’s request for judicial release.
       {¶ 4} The state timely appeals.

II. Assignments of Error
       {¶ 5} The state assigns the following two assignments of error for our review:
              [I.] The trial court erred in granting defendant judicial release
              contrary to law.

              [II.] The trial court erred in failing to make both of the
              findings needed, and list all of the factors presented at the
              hearing, to justify the judicial release of a second-degree felon.
III. Discussion
       {¶ 6} The state’s first assignment of error alleges the trial court erred in granting
Snowden’s request for judicial release. The state contends Snowden was ineligible for
judicial release. We agree.
       {¶ 7} “[J]udicial release is a privilege, not an entitlement.               ‘There is no
constitutional or inherent right * * * to be conditionally released before the expiration of a
valid sentence.’ ” State v. Ware, 141 Ohio St.3d 160, 2014-Ohio-5201, ¶ 12, quoting State
ex rel. Hattie v. Goldhardt, 69 Ohio St.3d 123, 125 (1994). “Courts have no inherent power
to suspend execution of a sentence, and they must strictly construe statutes allowing such
relief.” Id., citing State v. Smith, 42 Ohio St.3d 60, 61 (1989).
       {¶ 8} Ohio’s judicial release statute, R.C. 2929.20, permits certain offenders to
apply for early release from prison. This statute authorizes a sentencing court to reduce the
prison term of an “eligible offender” through a “judicial release.” R.C. 2929.20(B). An
“eligible offender” is defined, with exceptions not relevant here, as “any person who, on or
after April 7, 2009, is serving a stated prison term that includes one or more nonmandatory
prison terms.” R.C. 2929.20(A)(1)(a). A mandatory prison term is not subject to reduction.
No. 23AP-699                                                                                  3


See Ware at ¶ 11, quoting R.C. 2929.20(C) (“Ohio law provides that a prisoner cannot apply
for judicial release until a period of time ‘after the expiration of all mandatory prison terms’
in the stated prison sentence.”). An offender sentenced to a nonmandatory prison term
between two and five years may apply for judicial release “not earlier than one hundred
eighty days after the expiration of all mandatory prison terms.” R.C. 2929.20(C)(1)(b).
       {¶ 9} Here, Snowden argues the prison term for his drug offense was not
mandatory, and therefore he was eligible for judicial release 180 days after serving the
mandatory prison term for the firearm specification. In support, he asserts the trial court
did not expressly state in the judgment entry that this prison term for the drug offense was
mandatory. He also asserts his prison term for the drug offense cannot be considered
mandatory because he pleaded guilty to a general violation of R.C. 2925.03, not specifically
R.C. 2925.03(C)(1)(d), which requires the imposition of a mandatory prison term. Noting
that not all second-degree felony drug trafficking offenses under R.C. 2925.03 require a
mandatory prison term, such as R.C. 2925.03(C)(2)(d) (prohibiting “trafficking in drugs”),
Snowden argues the lack of subsection specificity and resulting ambiguity in the judgment
entry should be construed in his favor.
       {¶ 10} Snowden’s arguments are unpersuasive. Snowden correctly notes that the
trial court’s judgment entry does not state that the prison term for the aggravated
trafficking in drug offense was mandatory—it is silent as to this issue. But the fact that the
trial court’s judgment entry does not expressly state the imposed prison term for the
aggravated trafficking in drugs offense was mandatory did not alter the mandatory nature
of that term. See Ware at ¶ 14, 18 (even though sentencing entry did not refer to the
imposed prison term as mandatory, it was “mandatory by operation of law and did not allow
for early release”). Moreover, although the judgment entry does not specify the subsection
of R.C. 2925.03 that Snowden violated, the entry indicates he was convicted of “aggravated
trafficking in drugs” in violation of that statute, as a second-degree felony. (Jan. 18, 2022
Jgmt. Entry at 1.) The only subsection in R.C. 2925.03 that applies to aggravated trafficking
in drugs is R.C. 2925.03(C)(1), and a prison term is mandatory for a second-degree felony
aggravated trafficking in drugs offense. R.C. 2925.03(C)(1)(c) and (d). Thus, there is no
ambiguity or uncertainty—pursuant to statute, the prison term was mandatory for
No. 23AP-699                                                                               4


Snowden’s drug offense. Consequently, Snowden was ineligible for judicial release as a
matter of law.
       {¶ 11} Accordingly, we sustain the State’s first assignment of error.
       {¶ 12} The state’s second assignment of error alleges the trial court erred in not
making the necessary findings to justify the granting of Snowden’s judicial release request.
Because we find Snowden was not eligible for judicial release, and therefore have sustained
the state’s first assignment of error, this assignment of error is moot.

IV. Disposition
       {¶ 13} Having sustained the state’s first assignment of error, and finding as moot its
second assignment of error, we reverse the judgment of the Franklin County Court of
Common Pleas and remand this matter to that court for further proceedings consistent with
law and this decision.
                                                                           Judgment reversed;
                                                                             cause remanded.

                         DORRIAN and EDELSTEIN, JJ., concur.
